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VIA ECF                                                                             coreyworcester@quinnemanuel.com


Honorable Ona T. Wang
United States Magistrate Judge
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007

Re:     Emigrant Bank,, et al. v. SunTrust Bank, et al., No. 1:20-cv-02391-PGG-OTW

Dear Judge Wang:

       We represent Plaintiffs Emigrant Bank and Pacific Mercantile Bank (“Plaintiffs”) and write
in response to the August 18, 2023 letter filed by non-party Virgo Investment Group LLC
(“Virgo”) requesting a pre-motion conference for a proposed motion for a protective order in
connection with the subpoena served by Plaintiffs on Virgo. ECF 97 (the “Letter”).

        Virgo seeks a protective order regarding two categories of documents: (i) documents
related to accounting firm Baker Tilly (Request No. 19); and (ii) documents relating to the Nu
Image Arbitration (Request No. 22). Virgo has previously sought to bar other parties from
producing the same categories of documents (ECF Nos. 80, 85).

        Virgo’s motion should be denied for the reasons set forth in Plaintiffs’ prior letters (ECF
Nos. 81, 93), including because the documents sought are relevant, Virgo has articulated no
confidentiality or other interest justifying a protective order, and even if it had a confidentiality
interest in the documents, it would be protected by the Protective Order in this action. Virgo’s
production of these documents is particularly important because Baker Tilly has apparently not
preserved certain categories of documents, including its communications with Virgo, and Virgo is
the only potential source of its internal communications.

I.      Background

        This action stems from a Credit Agreement through which Plaintiffs and other lenders (the
“Lenders”) provided funds to Our Alchemy, LLC (“Alchemy”) in connection with the acquisition
of Alchemy for Virgo’s benefit. Calrissian L.P., a shell company formed and owned by Virgo, is
the party that formally acquired Alchemy and, importantly, guaranteed the loan. Baker Tilly was
hired by Virgo to perform due diligence regarding Alchemy’s finances in advance of the purchase
of Alchemy by Virgo’s alter ego and agent, Calrissian. Baker Tilly issued a draft report to Virgo
stating that Alchemy had a low quality of earnings and that some of Alchemy’s financial reporting
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could provide a misleading view of its earnings. ECF No. 45 (“Compl.”) ¶ 28. Plaintiffs allege
that Virgo directed Baker Tilly to change these negative assessments in the final report and
concealed them from the Lenders. Id.

        On two occasions after the loan closed, Alchemy drew on the loan facility and immediately
transferred the borrowed funds to Virgo, through Calrissian, leaving both Alchemy and Calrissian
insolvent. Further, during this time, Virgo used its control of Alchemy through its subsidiary,
Calrissian, to misrepresent and conceal Alchemy’s financial problems from the Lenders. Alchemy
soon declared bankruptcy. Compl. ¶¶ 74-75. Then, when Defendant SunTrust Bank, the
administrative agent under the Credit Agreement, sought to collect on Calrissian’s guaranty,
Calrissian declared bankruptcy. Id. ¶ 9. Accordingly, although Virgo received much of the funds
lent by the Lenders, the Lenders lost approximately $50 million.

        Plaintiffs demanded that SunTrust, as administrative agent, bring suit against Virgo for
breach of the Guaranty as Calrissian’s alter ego and/or principal, but SunTrust refused. Plaintiffs
therefore brought this action against SunTrust for breach of its contractual obligation to bring suit
on behalf of the Lenders. A key component of Plaintiffs’ claims will be establishing that the
Lenders had a colorable claim against Virgo as Calrissian’s alter ego or principal for breach of the
Guaranty and using its alter ego status to mislead and defraud the Lenders.

        Plaintiffs served subpoenas on Virgo, Calrissian, and another Virgo affiliate, Virgo Service
Company, LLC (“VSC”), the general partner of Calrissian. Virgo refused to produce any
documents regarding Baker Tilly or the Nu Image Arbitration. Virgo has produced only
documents it had produced to the Alchemy Trustee in the adversary proceedings the Trustee had
brought against Virgo for the aforementioned fraudulent transfer of funds, along with a few other
categories of documents consisting mostly of Calrissian’s financial documents that were publicly
filed in Calrissian’s bankruptcy proceedings. Plaintiffs are still reviewing the contents of this
production to identify additional deficiencies—a process that has been substantially delayed by
Virgo’s production of documents in an unusable format—but Virgo still refuses to produce
documents relating to Baker Tilly or the Nu Image Arbitration.

        As the parties have already briefed the relevance of these documents (ECF Nos. 80, 81, 85,
93), for the sake of efficiency, Plaintiffs will not restate every argument they have made regarding
their production, but instead offer additional reasons why it is appropriate to order the production
of these documents from Virgo as well.

        Plaintiffs also served subpoenas on VSC and Calrissian seeking categories of documents
encompassing the Baker Tilly and Nu Image documents. When neither entity responded to the
subpoenas, Plaintiffs filed a motion to compel in the District Court for the District of Delaware.
See Emigrant Bank, et al. v. Calrissian L.P. et al., Case No. 1:23-mc-00341-RGA-LDH (D. Del.).
Calrissian and VSC failed to respond to the motion. On August 14, 2023, the Court granted the
motion in its entirety. See id. at ECF No. 9. Plaintiffs thus have an order compelling the production
of documents that would include the Baker Tilly and Nu Image documents from Calrissian and
VSC, but those entities will not produce them. Although Calrissian and VSC are affiliates of
Virgo—and Virgo’s current counsel represented Calrissian and VSC in an action filed against
them by SunTrust for breach of the Guaranty and represented Calrissian in its bankruptcy—neither
Virgo nor Calrissian nor VSC ever objected to the Calrissian or VSC subpoenas or opposed the


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production of documents in this forum or the District of Delaware. Therefore, the relief sought by
Virgo would be inconsistent with the Order of the District of Delaware.

II.     Virgo Should Produce Documents Related to the Baker Tilly Report

        As set forth in Plaintiffs’ prior briefing (ECF No. 93), documents relating to Baker Tilly
are highly relevant. Essentially, Virgo’s documents related to Baker Tilly’s analysis, draft report,
and final report are relevant to Plaintiffs’ allegations that Virgo knowingly misled Lenders
regarding Alchemy’s finances while improperly using its alter ego, Calrissian, to perpetuate a
fraud. These issues go directly to the alter ego claim Plaintiffs demanded that SunTrust bring.

        Virgo’s production of documents related to Baker Tilly are even more important than Baker
Tilly’s production of the same. Baker Tilly has informed Plaintiffs that it likely has not retained
documents other than its draft report and final report. Virgo is thus the sole source of internal and
external communications regarding the Baker Tilly report and revisions to the draft.

III.    Virgo Should Produce Documents Related to the Nu Image Arbitration

        Plaintiffs have previously explained that documents from the Nu Image Arbitration are
highly relevant. ECF No. 81. The requested documents involve Virgo’s control over Calrissian
in the purchase of Alchemy, Calrissian’s inadequate capitalization, and Virgo and Calrissian’s
knowledge of Alchemy’s finances. The Nu Image Arbitration thus involves the same transactions,
the same witnesses, the same documents, and the same fundamental inquiries as this litigation,
including who managed the transaction, what Virgo knew about Alchemy’s finances, and how
Virgo used its control over Calrissian to shield itself from liability.

         Virgo has failed to articulate any confidentiality interest in the documents, as they concern
a transaction that occurred nine years ago involving a company in bankruptcy (Alchemy) and a
company that is defunct (Calrissian). Thus, Virgo has expressed no justification for a protective
order, particularly considering that the operative protective order in this action (ECF No. 75) will
sufficiently protect confidential information, if any. Further, the District of Delaware has already
ordered that categories of documents that would include these documents be produced by Virgo’s
affiliates Calrissian and VSC. See supra at 2.

      Finally, in 2016, Calrissian provided to SunTrust the documents it produced in the Nu
Image Arbitration (though to Plaintiffs’ knowledge, transcripts, orders, and documents produced
by other parties were not provided). Again, Virgo cannot articulate any reason that such
documents are now confidential when one party to this action already has them.

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        For the reasons above, Plaintiffs oppose Virgo’s anticipated motion for a protective order.
Plaintiffs agree with Virgo that additional briefing on this anticipated motion is not necessary.




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Respectfully submitted,

/s/ Corey Worcester
Corey Worcester




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